          Case 2:21-cr-00311-MRP Document 33 Filed 01/30/23 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA

          v.                                  CRIMINAL NO. 21-311

STANLEY WOLOFF




                                      ORDER

       AND NOW, to wit this 30th day of January, 2023, upon consideration of Defendant

Stanley   Woloff’s    Unopposed   Motion     for   Return   of   Passport,   it   is   hereby

ORDERED, ADJUDGED, AND DECREED that Defendant’s Motion for Return of Passport is

GRANTED. The Clerk’s Office shall return the passport of Stanley Woloff to his wife,

Judith Woloff, forthwith.



                                           BY THE COURT:


                                            /s/ Mia R. Perez
                                           _______________________________
                                            MIA R. PEREZ
                                            United States District Court Judge
